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From:              Miller, Terry
To:                Brent R. Baker; Aaron Lebenta; Jonathan D. Bletzacker; maranda.fritz@thompsonhine.com
Cc:                Carlyle, Zachary T.; Pinkston, Marla J.
Subject:           SEC v. Alpine - Notice of Deposition of John Hurry
Date:              Friday, March 09, 2018 4:00:00 PM
Attachments:       2018.03.09 Notice of Depo - J. Hurry.pdf


Alpine counsel,

Please find attached a deposition notice for John Hurry. We selected the date and location in the
attached notice because Alpine has not provided available dates. As we’ve stated before, we’ll
consider specific alternative dates and alternative locations to accommodate Mr. Hurry’s schedule.
Service of this notice on Alpine’s counsel is sufficient to compel his testimony under Rule 30(b)(1)
because Mr. Hurry is a director of Alpine.

We’re happy to set up a time to confer if you are still considering a motion for protective order or
would like to propose alternative dates.

Best,

Terry R. Miller
Trial Counsel, Division of Enforcement
U.S. Securities & Exchange Commission
Denver Regional Office
Byron G. Rogers Federal Building
1961 Stout Street, Suite 1700
Denver, Colorado 80294-1961
Phone: 303-844-1041
Fax: 303-295-0538
millerte@sec.gov




                                                                                                           EXHIBIT
                                                                                                                     exhibitsticker.com




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ZACHARY T. CARLYLE
carlylez@sec.gov
TERRY R. MILLER
millerte@sec.gov
SECURITIES AND EXCHANGE COMMISSION
1961 Stout Street, 17th Floor
Denver, Colorado 80294
(303) 844-1000

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE                                17-cv-4179-DLC
COMMISSION,

                                     Plaintiff,
                                                                        ECF CASE
       - against -

ALPINE SECURITIES CORPORATION,

                                     Defendant.


              PLAINTIFF UNITED STATES SECURITIES AND EXCHANGE
                    NOTICE OF DEPOSITION OF JOHN HURRY

       PLEASE TAKE NOTICE that Plaintiff Securities and Exchange Commission, pursuant

to Rule 30(b)(1) of the Federal Rules of Civil Procedure, hereby notices the following

deposition:

               Deponent:             John Hurry, Director of Alpine Securities Corporation
               Date:                 March 20, 2018, beginning at 2:00 p.m.
                                     and continuing from day to day until complete
               Location:             United States Securities and Exchange Commission
                                     351 S. West Temple
                                     Suite 6.100
                                     Salt Lake City, UT 84101
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       The deposition will be taken before a certified shorthand reporter and videographer. The

depositions will continue from day to day until completed.


       Respectfully submitted this 9th day of March, 2018.


                                            /s/ Terry R. Miller
                                            Zachary T. Carlyle (pro hac)
                                            Terry R. Miller (pro hac)
                                            Attorneys for Plaintiff
                                            UNITED STATES SECURITIES AND
                                            EXCHANGE COMMISSION
                                            1961 Stout Street, 17th Floor
                                            Denver, Colorado 80294
                                            (303) 844-1000




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                               CERTIFICATE OF SERVICE

       I certify that on March 9, 2018, a copy of the foregoing document was served on the

following by email:

       Brent R. Baker
       Aaron D. Lebenta
       Jonathan D. Bletzacker
       CLYDE SNOW & SESSIONS
       One Utah Center, 13th Floor
       201 South Main Street
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       brb@clydesnow.com
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       Maranda E. Fritz
       Thompson Hine LLP (NYC)
       335 Madison Avenue, 12th Floor
       New York, NY 10017
       Maranda.fritz@thompsonhine.com

       Counsel for Alpine Securities Corporation


                                                   /s/ Terry R. Miller




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